
896 N.E.2d 1058 (2008)
PEOPLE STATE OF ILLINOIS, petitioner,
v.
Miguel A. GALARZA, respondent.
No. 102437.
Supreme Court of Illinois.
November 26, 2008.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, Second District, is directed to vacate its judgment in People v. Galarza, case No. 2-04-1075 (02/22/06). The appellate court is directed to reconsider its judgment in light of People v. Harris, 228 Ill.2d 222, 319 Ill.Dec. 823, 886 N.E.2d 947 (2008) and People v. Cosby, Nos. 100681, 102584, ___ Ill.2d ___, ___ Ill.Dec. ___, ___ N.E.2d ___ (9/18/08), to determine if a different result is warranted.
